                      Case 1:20-cr-10164-NMG Document 48 Filed 09/15/20 Page 1 of 1

                                                                                                Received by USMS Boston
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                                            UNITED STATES DISTRlCTCoui!¥0SEP 15 PM3: 30
                                                                    for the                           U.S. DISTRICT COURT
                                                                                                       DISTRICT OF M/.\SS.
                                                           District of Massachusetts

                      United States of America
                                    V.                                )
        TIMOTHY TORIGIAN, GERARD O'BRIEN,                             )       Case No.
        ROBERT TWITCHELL, HENRY DOHERTY,                              )
            DIANA LOPEZ, JAMES CARNES,                                )                 1:20cr10164-NMG
         MICHAEL MURPHY, RONALD NELSON ,
                                                                      )
               AND f<ENDRA CONWAY
                                                                      )
                               Defenda111


                                                        ARREST WARRANT
To:        Any aut horized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(110111e ofperson 10 be arres1ed)        MICHAEL MURPHY
who is accused of an offense or violation based on the following document filed with the court:

r,/ Indictment             O Superseding Indictment          O Information      O Superseding Information              O Complaint
0 Probation Violation Petition                O Supervised Release Violation Petition      O Violation Notice          O Order of the Court

This offense is brieny described as follows:
  Conspiracy to Commit Theft Concerning Programs Receiving Federal Funds
    (18 u.s.c. § 371)

  Theft Concerning Programs Receiving Federal Funds; Aiding and Abetting
    (18 U.S.C. §§ 666(a)(1 )(A) and 2)




Date: - ~ug_20,_2._0=2=0~ -


City and state:             Worcester, Massachusetts                        USMJ David H. Hennessy
                                                                                             Printed name 011d title


                                                                   Return

          This warrant was received 011 (date)
al (city and state)
                                                    - - - - - - - , and the person was arrested on (date)

Date: _ _ _ __



                                                                                             Printed nw11e and title
